 

PROB 22 DOCKET NUMBER (Tran. Cour)
(Rev. 9/98)

TRANSFER OF JURISDICTION EP-09-CR-2438-PRM

 

aR (Rec Court)

    

 

NAMEAND ADDRESS OF PROBATIONER/SUPERVISED RELEASTE DISTRICT DIVISION

 

 

Alfredo Vargas-Nava WDI/TX EL PASO
Northern District of California NAME OF SENTENCING JUDGE

Philip R. Martinez

 

DATES OF PROB/ FROM TO
SUPV. REL. 07/24/2018 07/23/2023

 

 

 

 

OFFENSE

Importation of a Controlled Substance, to wit: Heroin 21 U.S.C. §§ 952 & o60. I L E D

FEB 12 2029

 

 

PART 1 - ORDER TRANSFERRING JURISDICTION a4 ER ° USAN ¥ SOONG
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TRICT
N Jose CALIFORNIA

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF TEXAS

 

IT 1S HEREBY ORDERED that pursuant to 18 U.S.C. § 3605 the jurisdiction of the probationer
or supervised releasee named above be transferred with the records of the Court to the United States
District Court for the Northern District_of California upon that Court's order of acceptance of
jurisdiction, This Court hereby expressly consents that the period of probation or supervised release
may be changed by the District Court to which this transfer is made without further inquiry of this
court. *

 

 

Date United aeons ar A

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“This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA.

 

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
releasee be accepted and assumed by this Court from and after the entry of this order.

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Effective Date United Statds District Judge

     

 

 
